     Case 3:17-cv-01342-VLB Document 73 Filed 10/03/18 Page 1 of 2




UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
________________________________

GRADUATION SOLUTIONS LLC,                     Case No.: 3:17-cv-01342-VLB

            Plaintiff
                                              DEFAULT JUDGMENT
v.

ACADIMA, LLC and ALEXANDER
LOUKAIDES,


           Defendants
________________________________


      WHEREAS, this action having been commenced on August 09, 2017

by the filing of the Complaint, and a copy of said Complaint having been

served on Defendant Acadima, LLC, and

      WHEREAS, on June 29, 2018, the Court having ordered that

Acadima, LLC must substitute counsel in this proceeding within thirty-five

(35) days of receiving notice of the withdrawal of its prior attorney Kathryn

Sylvester, and

      WHEREAS, if it failed to substitute counsel within the directed

timeframe, default judgment would be entered against it for failure to

prosecute, and

      WHEREAS, more than thirty-five (35) days having passed and

Acadima, LLC having not substituted counsel in this matter as ordered by

the Court, and
     Case 3:17-cv-01342-VLB Document 73 Filed 10/03/18 Page 2 of 2



      WHEREAS, Acadima having failed to serve and file an answer in this

proceeding pursuant to Rule 12(a)(1) of the Federal Rules of Civil

Procedure, and

      WHEREAS, Dorf and Nelson LLP, attorneys for Plaintiff request an

order for default judgment against Acadima, LLC,

      NOW, it is hereby:

      ORDERED, ADJUDGED AND DECREED, that Plaintiff have judgment

against Defendant Acadima, LLC, in respect to all reliefs contained in the

Amended Complaint dated February 5, 2018.

      ORDERED, ADJUDGED AND DECREED, that an Inquest shall be held

at the conclusion of this matter to determine damages.

Dated:      Hartford, Connecticut

            ______________________


                                     ______________________________
                                     HON. VANESSA L. BRYANT
                                     UNITED STATES DISTRICT JUDGE




                                    2
